AFFIDAVIT OF SPECIAL AGENT MATTHEW C. KNIGHT

 

`I, Matthew C. Knight, being duly sworn, depose and state as

follows:
I. INTRODUCTION
l. l am a Special Agent of the Federal Bureau of
Investigation ("FBI"). I am submitting this affidavit in

support of the government's motion that the following
individuals be detained pending trial: DAVID JONES, A/K/A
“SUPA”; KAREEM BERRY, A/K/A “TY”, A/K/A “J”; AARON BLOUDSON,
A/K/A “BONES”; JORGE CEPEDA, A/K/A “JUNITO”; DEARON CURETON,
A/K/A “TABBY"; ESTEVE DIAZ, A/K/A “STEVIE-o"; FRANKIE FINKLEA;
RASHEED MARSMAN; RAHZHAN SPRIGGS, A/K/A “RAY”; ILEANA VALDEZ,
A/K/A “LORI”, A/K/A “LORENA”; ELVIS PENA, A/K/A “JIMMX”; JOSEPH
BENSON; CARLTON BUFORD; ISRAEL DELACRUZ; JAMES HARDY; RICHARD
MAHONEY; ISMAEL VASQUEZ; DEMETRIUS WILLIAMS, A/K/A “TROLL”;
YANCEY WILLIAMS, A/K/A “YUNG”; TEVIN ABERCROMBIE; ROBERTRO
ANDRADE; YANCEY CALHOU`N, A/K/A “POPS”; ANTHCNY COPLIN; BENJAMIN
FIGUEROA; DERONN FUNCHES, A/K/A “SLIM DEALZ”; MICHAEL GAINES,
A/K/A “HOLIDAY”; SHAROD HOPKINS; LORENZO MYERS, A/K/A “ZO”;
LOUIS wHITEHEAD, A/K/A “”L, A/K/A “LITTLE MAN"; ARTHUR wILLIAMS,
A/K/A “G”, A/K/A “G-CODE”, A/K/A “G-SOURCE”; BRANDI WILLIAMS,
A/K/A “BREEZY",- SEKOU wILLIAMS, A/K/A “sHOES"; WILLIE BERRY,
A/K/A “SCO”, A/K/A “SCODOUGH”; TONY BERRY, A/K/A “MAZIBRAWL”;

FRANCISCO ARIAS, A/K/A “EMILIO PEREZ”; ANTONIO CHATMAN; DAVID

 

COKE, A/K/A “SLIME”; ROSHAUN HAWKINS, A/K/A “PRETTY”; JUAN LARA,
A/K/A “MIGUEL”; DESMOND PERSON; JAMES WILLIAMS; MICHAEL COKE,
A/K/A “DIRTY MIKE”; LARRY BAILEY; ANTHONY CALDWELL, A/K/A “AC”;
MEMOGNE LAMOTHE, A/K/A “MAEMO”, A/K/A “MIZZ”; and MIKE MCNEILL,
A/K/A “MURDER MIKE”, A/K/A “M-3” (hereinafter collectively
referred to as "the Targets"). All of the Targets have been
charged With various drug and/or firearm violations in five
separate federal indictments issued on June 16, 2015. All of
the Targets are also alleged to be leaders, members, or
significant criminal associates of the Columbia Point Dawgs,
a/k/a “the Point,” and are alleged to be involved in a host of
criminal activities in, among other places, Boston,
Massachusetts, Maine, New York, and Georgia.

2. I have been a Special Agent with the FBI since 2004
and am currently assigned to the FBI's Boston Field Office.
Since 2004, I have been involved in dozens of investigations
relating to a Wide variety of suspected criminal activity,
including, among other things, drug and firearm trafficking by
organized street gangs. l Was previously employed as a police
officer With the Baltimore Police Department from 1997 to 2004,
and Was assigned as a Detective investigating drug trafficking
crimes from 2001 to 2004. I have been the affiant on numerous
affidavits in support of criminal complaints, search warrants,

and Title III wiretaps.

 

3. In the course of participating in investigations
of drug trafficking, I have conducted or participated in
surveillance, the purchase of illegal drugs, the execution
of search warrants, debriefings of subjects, witnesses, and
informants, and reviews of consensually recorded
conversations and meetings. I have also received training
in narcotics trafficking through my position as a FBI
Special Agent. Through my training, education, and
experience, l have become familiar with the manner in which
drug traffickers conduct their illegal drug trafficking
activity, to include their use of cellular telephones to
contact drug customers, drug runners, drug associates, and
sources of illegal drug supply. I am familiar with
narcotics traffickers’ methods of operation, including
distribution, storage, and transportation of narcotics.

The information contained in this affidavit is based on my
own investigation, oral and written reports by other law
enforcement officers, physical surveillance, information
from confidential informants/cooperating witnesses, public
records, database checks, and other investigations. My
interpretation of phone calls intercepted pursuant to court
orders is based upon the above information as well as my
training and experience. l have not included each and

every fact developed in this investigation in this

 

affidavit. Rather, this affidavit includes facts I believe
to be relevant to issues under 18 U.S.C. § 3142 with
respect to the Targets.

II. COIJHMBIA.EKJINT

A. THE PROMISE OF A BRIGHT FUTURE

4. The Dorchester Bay peninsula, later known as Columbia
Point, was once home to a United States Army barracks called
Camp McKay. This one-story, wooden barracks, built in 1942,
used to house Italian prisoners of war during World War II.
Much of the land was used as a pasture for animals, two large
dumps, and a sewage pumping station, as well as being home to a
few industrial companies.

5. Following World War II, there was a high demand for
low»cost housing in Boston. In 1946, the prisoners of war were
moved out of the Dorchester Bay peninsula, temporary public
housing tenants were moved in, and Camp McKay became known as
the Columbia Village housing projects. The Boston Housing
Authority (“BHA”) saw an opportunity in this relatively
neglected section of Dorchester and devised an ambitious plan
for this barren stretch of land.1

6. In 1951, the BHA broke ground in the Dorchester Bay

peninsula, now also home to Boston College High School, on the

 

l See generally A Decent Place to Live, from Columbia Point to Harbor
Point, Jane Roessner, at 5~9 (2000).

 

largest housing project ever built in New England at the time,
Three years later, in April of 1954, Boston Mayor John B. Hynes
announced the opening of public housing project Columbia Point,
containing thirty, seven-story structures and 1,504 units, which
would hold approximately 6,000 tenants. During the ceremony,
Mayor Hynes announced that a major shopping center, chapel,
school, playgrounds, and beach would be constructed in or near
the project to make it “the most self-sufficient section of the
city”.2

7. The early years of Columbia Point were an apparent
success. It was quickly filled with working~class families with
limited income, excited about living in a new community that was
promised to be a “safe and sanitary” place to raise their
family. A former Columbia Point resident recalls: “[I]t was a

place of real community spirit. Families were real close to

 

each other . . . you never even locked your doors.”3
B. RAVAGED BY GA.NG VIOLENCE AND CRIME
8. By the mid~1960s, Columbia Point was on the road to

deterioration. By the 1970s, news stories about Columbia Point
almost exclusively dealt with crime and gang violence. By that

time, Columbia Point had become so severely plagued by crime

 

2 Id. at 21.

3 Id. at 18, 47.

 

that the Boston Fire Commissioner asked for police protection
for all fire engines responding to Columbia Point,4

9. By the early 1980s, 80% of the units in Columbia Point
were vacant, and the project was largely under the control of
gangs and other criminal elements. Many residents fled Columbia
Point to protect their children. Columbia Point was largely
regarded as one of the most dangerous and unsanitary public
housing projects in the city, with only 350 units legally
occupied during this time and many of the vacant units occupied
by squatters, drug dealers, and prostitutes.5 As one tenant
reported, “no one wanted to come out here . . . the gangs were
infesting our housing.”6

III. THE COLUMBIA POINT DAWGS

A. THE 19803: BORN BY BLOOD

10. In the early 1980s, members of a street gang from
Detroit, Michigan, moved in and set up a drug trafficking

organization inside the Columbia Point housing complex. They

were called the “Bomb Boys,” also referred to as the “Detroit

 

4 See generally Privately-Funded Public Housing Redevelopment: A Study
of the Transformation of Columbia Point, Institute for International Urban
Development, Cambridge, MA (2008).

5Id.

6 Boston War Zone Becomes Public Housing Dream, The New York Times
(November 22, 1991).

 

Boys.” Once the Bomb Boys established themselves in the
projects, they employed many of the residents to assist them in
their drug distribution network which expanded into the
Roxbury/South End neighborhood in Boston.

11. Columbia Point residents working with the Bomb Boys
eventually rebelled against the outsider-leadership from
Detroit. In 1988, the leader of the Bomb Boys, Toby Johnson,
a/k/a “Blood”, was stabbed to death after leaving a nightclub in
Roxbury. George and John Chatman, two brothers from Columbia
Point who had worked for the Bomb Boys' drug trafficking
business, subsequently pled guilty to the Johnson murder and
were sentenced to 12-15 years’ imprisonment. The Johnson murder
marked the end of the Bomb Boys reign in Columbia Point, By
1989, the Boston Police began receiving information that
Columbia Point was being run by the “Columbia Point Dawgs,” a
gang made up almost entirely of Columbia Point residents.

12. While the Columbia Point Dawgs were taking over the
Bomb Boys' drug business, Columbia Point was falling further and
further into disrepair. The City of Boston turned over
management of the development to a private management company
which began a lengthy renovation project that would ultimately
become the Harbor Point development. To facilitate the
renovation, the management of the development instituted a

series of evictions and trespassing notices against members of

 

the Columbia Point Dawgs, essentially banning them from the
development. In response, members of the CPD began relocating
their drug trafficking activity to other neighborhoods in
Boston, in particular the Lenox Street projects and the area of
Morton Street and Clarkwood Street in Mattapan.

B. THE 19905: SECURING RIVAL GANG, DRUG TURF

 

13. During the 1990s, the Columbia Point Dawgs, a/k/a “the
Point” (also referred to herein as the “CPD”), developed its
command structure, formulated largely through separate drug
trafficking crews, and began consolidating its power and
influence as a city-wide gang. Columbia Point/Harbor Point was
no longer a hospitable drug trafficking base. Employing a bold
and dangerous strategy, the CPD began infiltrating drug
trafficking locales controlled by rival gangs. The result was
predictable. Gang warfare erupted throughout Boston, shootings
were prevalent, and many Boston gang members and innocent
bystanders were killed.

14. In the early 1990s, the CPD was largely run by four
families, all of which have descendants among the Targets in
this case: the Williams family, the Woods family, the Berry
family, and the Funches family, Members of the CPD, then and
now, often identified themselves by wearing Major League
Baseball clothing and caps depicting the colors and logos of the

Pittsburgh Pirates (Black and Gold) and the Philadelphia

 

Phillies (Red and White), with the "P" on both logos used to
identify the "Point" (i.e., Columbia Point).

15. While many members of the CPD returned to the newly
minted Harbor Point development in the early 1990s, others
settled in other areas of the City. In the early 1990s, the CPD
identified Ramsey Park in Roxbury as prime drug trafficking
turf, and began moving operations to that location. Ramsey Park
abutted the Lenox Street housing development, however, and drug
trafficking operations in the park were run by the Lenox Street
gang. During this period, the CPD and Lenox Street engaged in a
series of shootings and homicides over drug distribution in the
park. The CPD prevailed and took over control of drug
trafficking in Ramsey Park.

16. The pattern of the CPD muscling its way into drug
territories held by rival gangs continued throughout the 1990s.
The CPD established its authority over drug turf throughout
various neighborhoods of Boston through a pattern of violent
shootouts with members of rival gangs, particularly with the KOZ
gang and the Orchard Park gang, often at barrooms and late night
eateries where the gangs would clash. For example, on November
7, 1993, members of the CPD and members of the KOZ gang engaged
in a shootout at a late night restaurant on Blue Hill Ave in
Mattapan. Responding Boston Police Officers also exchanged

gunfire with the two gangs. The police on scene reported

 

gunfire from at least seven sources. At least four gang members
were wounded and numerous firearms were recovered.

17. The CPD’s infiltration of drug trafficking territories
previously held by rival gangs led to increased gang tensions
and resulted in numerous shootings and homicides. This period
included several high-profile, gang-related homicides, including
that of Atwan Parham, a prominent member of the Orchard Park
street gang, and that of Steven Sealey, a member of the Columbia
Point Dawgs who was shot and killed while sitting in Whitney
Houston's Bentley with the singer Bobby Brown. John Tibbs,
a/k/a "Black", an Orchard Park gang member, was convicted for
the murder of Steven Sealey. The CPD emerged from the bloodshed
of the 1990s as one of the two most feared gangs in Boston,
along with the Academy Homes Braves in Roxbury.

C. THE 20008: CONSOLIDATING POWER AND INFLUENCE

18. During the 2000s, through violence and intimidation,
the Columbia Point Dawgs solidified their hold over rival drug
trafficking territories throughout Boston and developed into a
truly city-wide gang. CPD members were now spread throughout
the city, controlling various drug trafficking turfs.

Regardless of where they were located, however, they “repped”
the Point ~~ i.e., they remained overt members of the CPD and
used their gang affiliation, threat of violence, and influence

to gain and maintain drug trafficking turf. Unlike the majority

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of Boston street gangs, which were, and remain, primarily
geographically limited in influence to a street, neighborhood,
or housing project, the CPD have tentacles and influence
throughout the city,7

19. Expulsion from Harbor Point caused the CPD to move
into other Boston neighborhoods to run their drug businesses.
CPD members took to the streets announcing their presence
through violence and drug dealing. CPD-led robberies of local
business owners and neighborhood residents in the after school
hours increased, as did those reporting the use of weapons such
as firearms and knives. Older CPD members with established
reputations for violence began committing armed home invasions
of local drug dealers, stealing product, firearms, and money.
In short, CPD used violence and generally intimidated their
neighborhoods to dominate the neighborhoods into which they
expanded.

20. During the 2000s, WILLIE BERRY, A/K/A “SCO”; TONY
BERRY, A/K/A "MAZIBRAWL"; DEMETRIUS WILLIAMS, A/K/A “TROLL”;
YANCY WILLIAMS, A/K/A "YUNG"; ANTHONY COPLIN; and LOUIS
wHITEHEAD, A/K/A “L", A/K/A “LI'I'TLE MAN”, grew to prominence as
leaders of the CPD. During this period, the CPD and the Academy

Homes Braves, based in the Academy Homes housing project in

 

7 The rise to prominence of the CPD was in part impacted by the 1995
federal Indictment and arrests of over 20 members of the Head Quarter Boys,
at the time the largest and most influential Boston street gang.

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Roxbury, were the two most feared and influential drug
trafficking gangs in Boston, LOUIS WHITEHEAD and his family
lived in Academy Homes, and eventually facilitated an alliance
between the CPD and Academy Homes to further their respective,
lucrative drug and firearm trafficking businesses.8

21. The CPD continued expanding its drug trafficking
business through southern Massachusetts, establishing
strongholds in Brockton and Fall River, Southern New Hampshire,
and Southern Maine. As the success of the CPD's drug
trafficking grew, so did the wealth of CPD members, who
increased the notoriety of the gang through the creation of
various record labels under the names “8 Bus Records,” named for
the MBTA Bus Route that went to Harbor Point, and the
“Waterboyz”, reflecting the topography of the Dorchester
peninsula containing Harbor Point,

22, CPD gang members used the record labels to promote rap
shows, occasionally demanding that visiting artists pay
“protection fees,” or a tax, to perform in Boston, and produced
videos in which CPD showcased its luxury vehicles, expensive
jewelry, and firearms, By 2010, the CPD was known up and down

the East Coast as a street gang that was here to stay.

 

8 In 2011, Owens Brown, the long-time leader of the Academy Homes
Braves, along with 11 other Academy Homes gang members and associates, were
charged federally in Boston with various drug trafficking crimes. Brown pled
guilty and in 2012 was sentenced to 15 years’ imprisonment.

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D. THE 20108: THE MOST POWERFUL GANG IN BOSTON

 

23. The 2010s marked the CPD’s solidification as the most
feared, influential, and largest street gang in Boston. The
gang was divided into trafficking crews throughout different
areas of the city. CPD gang members were frequently seen in the
city driving expensive luxury cars, such as Maseratis and
Lamborghinis. For example, during the investigation, TONY
BERRY, YANCEY WILLIAMS, DAVID COKE, and ARTHUR WILLIAMS Were all
seen driving different Maseratis, as well as wearing expensive
jewelry and designer clothing, and spending freely in the clubs.
Other CPD members were observed operating Mercedes-Benz,
Infiniti, and Audi motor vehicles, As the top city gang, making
the most money, the CPD became a target/subject for rival gangs.
In particular, during this period, the CPD engaged in violent
shooting “beefs” with the Orchard Park Trailblazers and the
Greenwood Street Posse, a/k/a “the Packers.”

i. Continued expansion of drug networks

 

24. As the prominence and influence of the CPD grew, its
leadership split the running of the day-to-day drug dealing
Operations between the BERRY family, headed by brothers TONY and
WILLIE BERRY, and the WILLIAMS family, headed by brothers
DEMETRIUS and YANCEY WILLIAMS. The CPD membership consolidated
their drug trafficking activities into separate street crews

(“Crews”) operating numerous drug stash houses throughout

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Boston. Evidence derived from controlled buys, Court-authorized
wiretaps, and attendant surveillance, as well as seizures shows
that the CPD Crews distributed multi-kilogram quantities of
heroin, cocaine, and crack, as well as thousands of oxycodone
pills throughout the course of the investigation,

25. During the course of the investigation, TONY BERRY
would frequently travel from Atlanta, GA, to Boston, MA, and
then go to New York, NY, to pick up a load of oxycodone pills,
which he would bring back to Boston for distribution by, among
others, CPD member ROSHAUN HAWKINS. On May 13, 2015,
investigators seized 1,688 oxycodone pills from TONY BERRY on
his way back to Boston from New York.9 TONY BERRY owns property
in Atlanta, GA. TONY BERRY has bought several high caliber
weapons in Georgia, and has posted photographs of himself
holding and displaying the weapons on social media and using his
street name “mazibrawl”. §eephotographs attached hereto as
Exhibit 1.

26. TONY and WILLIE BERRY's CREW used the BERRY family
home at 76 Radcliffe Street in Dorchester as their hub of drug
operations, as well as 8 Bus Records. WILLIE BERRY used the
third-floor apartment of the family home to package, store and

distribute heroin, oxycodone, and crack, and used CPD members

 

9 TONY BERRY was charged in state court with trafficking oxycodone, He
posted a $50,000 cash bail a few days later and returned to Atlanta, GA, in
violation of his conditions of release that he not leave Massachusetts.

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ROSHAUN HAWKINS and ANTONIO CHATMAN to distribute oxycodone and
heroin. JUAN LARA, FRANCISCO ARIAS, and DAVID COKE supplied
WILLIE BERRY with oxycodone and heroin. DESMOND PERSON and
JAMES WILLIAMS, long time CPD associates, used WILLIE BERRY as a
source of supply for heroin, crack, and cocaine.

27. In addition to supplying WILLIE BERRY with cocaine and
heroin, DAVID COKE and MICHAEL COKE, long-time associates of CPD
and the Berry family, ran a violent robbery and drug trafficking
Crew operating out of DAVID COKE's auto-body shop in Stoughton
and MICHAEL COKE's storage facility in Randolph. The COKE CREW
was supplied with heroin and cocaine by the long-time drug
trafficker FANCISCO ARIAS, and also obtained kilograms of
cocaine from LARRY BAILEY, who used his two Boston businesses --
Finest Cuts barbershop, located at 405 Blue Hill Avenue, and
Bailey's Laundromat, located at 1135 Harrison Avenue -- to sell
cocaine and cocaine base to customers on the streets of Boston.
DAVID COKE's customers included Corbett Street gang member
MICHAEL MCNEILL, Greenwood Street gang member MEMOGNE LAMOTHE,
and Lynn-based drug dealer ANTHONY CALDWELL.

28. DEMETRIUS and YANCEY WILLIAMS’ Crew operated a
lucrative drug trafficking business throughout Boston, and ran a
drug pipeline between Boston and Portland, Maine. The WILLIAMS
CREW used drug stash houses, or “Traps,” at three Boston

locations: 6 Metcalf Court; 26C Saint Alphonsus Street; and 4

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Wakullah Street. These Traps were overseen by family members,
such as BRANDI WILLIAMS, CPD members, and members of the closely
aligned St. Josephs Street Gang, such as Shawn Myers and LORENZO
MYERS.

29. YANCEY CALHOUN, the father of DEMETRIUS and YANCEY
WILLIAMS, and a longtime CPD member, oversaw the Portland,
Maine, branch of the WILLIAMS CREW’S drug operation. The
WILLIAMS CREW was supplied with cocaine by CPD member ANTHONY
COPLIN, who used his business, Atlantic Fashion and
Communications, located at 541 Dudley Street in Boston, to
distribute kilogram quantities of cocaine. The WILLIAMS CREW
was also supplied with cocaine by CPD member LOUIS WHITEHEAD,
who expanded the CPD's drug trafficking business into Fall
River, MA, as well as by CPD members, and cousins, ARTHUR
WILLIAMS and SEKOU WILLIAMS.

30. On May 16, 2015, LOUIS WHITEHEAD and co-defendants
YANCEY WILLIAMS and ARTHUR WILLIAMS, were arrested in Mansfield,
MA, after repeatedly shooting at two passengers in a car while
driving down Route 138. A firearm was recovered from the car
and all three men were charged with two counts of assault with
intent to murder. A subsequent search of LOUIS WHITEHEAD’s cell
phone uncovered several photographs related to his CPD

membership, including the photographs of WHITEHEAD attached as

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Exhibit 2 and photographs of a social media posting attached as
Exhibit 3.

31. To strengthen the hold of CPD in the city, DEMETRIUS
and YANCEY WILLIAMS formed drug trafficking alliances with other
gangs. For example, the WILLIAMS CREW supplied drugs not only
to CPD members such as DERONN FUNCHES and SHAROD HOPKINS, but
also to H-Block member MICHAEL GAINES, Mission Hill gang member
TEVIN ABERCROMBIE, Wilmington Street gang member ROBERTO ANDRADE
(who operated in Brockton), and Latin King gang member BENJAMIN
FIGUEROA (who operated in Framingham).

32. DAVID JONES oversaw the day-to-day operation of his
own street crew, a subset of the WILLIAMS CREW, operating out of
two stash houses located at 4 Beale Street, and 153 Norwell
Street, in Dorchester. During the investigation, CPD members
FRANKIE FINKELA, JORGE CEPEDA, KAREEM BERRY, and RAHZHAN SPRIGGS
used the stash houses, or “Traps”, as round-the-clock drug
delivery locations. Older CPD members ESTEVE DIAZ, AARON
BLOUDSON, and DEARRON CURETON were alternative sources of
cocaine and crack for the JONES CREW when CPD leader DEMETRIUS
WILLIAMS was unavailable. RASHEED MARSMAN, a longtime Boston
drug dealer, would also act as a source of cocaine supply to
DAVID JONES and members of the JONES CREW.

33. In addition to utilizing the COKE CREW, CPD members

had a pipeline to ILEANA VALDEZ, head of a large heroin and

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cocaine trafficking ring. IELANA VALDEZ used trusted drug
runners such as ELVIS PENA to run a round-the-clock drug
delivery organization. Investigators identified three drug
stash houses and one money stash house used by ILEANA VALDEZ and
ELVIS PENA during the investigation, including 535 Washington
Street, Canton, MA. On September 27, 2014, agents photographed
VALDEZ leaving 535 Washington Street with several containers
that she placed in the trash. A subsequent trash pull revealed
that the containers held kilogram wrappers that were still wet
from being rinsed out.

34. In addition to supplying CPD members KAREEM BERRY,
JOSEPH BENSON, and JAMES HARDY with hundreds of grams of heroin
a week, ILEANA VALDEZ and ELVIS PENA supplied numerous heroin
and cocaine dealers working in Boston such as CARLTON BUFORD,
ISMAEL VASQUEZ, and ISRAEL DELACRUZ, and on the South Shore such
as RICHARD MAHONEY.

ii. Gang beef with Orchard Park Trailblazers

 

35. The Columbia Point Dawgs have a long-standing beef
with the Orchard Park Trailblazers. This beef boiled over in
2011 when 8 Bus produced a rap video featuring TONY BERRY and a
CPD associate (hereinafter “Kidnapping Victim 1”), wearing a
Waterboyz t-shirt, that was filmed on the corner of Warren and
Zeigler Streets in Roxbury, a short distance from the Orchard

Park Housing Development -- home to the Orchard Park

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Trailblazers. According to law enforcement sources, the video
was viewed as demonstrating the CPD’s flagrant disrespect for
the Trailblazers and their territory.

36. On June 6, 2011, according to law enforcement sources
and Boston Police reports, Kidnapping Victim (a member of CPD)
was kidnapped and a $100,000 ransom demand was made of his
brother WILLIE BERRY. On June 7, 2011, at approximately 7 a.m.,
an Orchard Park gang leader (hereinafter referred to as “OP
Victim 1”) (and two innocent bystanders), were shot in an
apparent drive by shooting outside an auto body shop in
Dorchester. Toll records show numerous contacts between a
cellular telephone used by OP Victim 1 and various members of
Kidnapping Victim 1's family on the night of the kidnapping.

37. Kidnapping Victim 1 was located by police later that
day in Chelsea. He had escaped a nearby basement apartment,
appeared dazed, and had ligature marks on his wrists. In the
ensuing month, a second Orchard Park gang leader (hereinafter
“OP Victim 2”), was found shot in his car. Kidnapping Victim 1
later released a video referring to being held in a basement and
tc the shooting cf oP victim 2.10

38. Members of the CPD, such as TONY BERRY, Kidnapping

Victim 1, and ANTONIO CHATMAN, have also used 8 Bus

 

10 I know the identities cf Kidnapping victim i, oP victim l, and op

Victim 2, and have intentionally excluded them from this affidavit.

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Records/Water Boyz Records to produce music videos offering to
sell Suffolk County Grand Jury minutes exposing the identities
of homicide witnesses who are rival gang members of the

Point, For example, an October 2014 video posted on YouTube
shows several members of the CPD, including, inter alia, TONY
BERRY, Kidnapping Victim 1, and ANTONIO CHATMAN, holding Boston
Police Homicide Unit Reports and Suffolk County Grand Jury
minutes identifying four Orchard Park gang members as
cooperating witnesses in a homicide case. The reports identify
the witnesses by name, date of birth, address, and telephone
number. TONY BERRY and Kidnapping Victim 1 are depicted on the
video offering to sell the information for $19.95, and
attempting to incite retaliation by other street gangs against
Orchard Park gang members,ll

iii. Gang beef with Greenwood Street Posse

 

39. The Greenwood Street Posse, a/k/a the “Packers”,12 is a
long-standing, significant Dorchester street gang closely

affiliated with the Franklin Hill Giants. Greenwood is also

 

n Kidnapping Victim 1, a prominent member of the CPD, was a target of
this investigation. Kidnapping Victim 1 was in custody for most of the
investigation, however, so evidence was not developed against him. ln 2014,
shortly after the investigation began, however, Kidnapping Victim 1 was
arrested in connection with a drive-by shooting at a night club in New York
City. He was detained in New York pending trial and ultimately pled guilty
to two counts of assault with intent to murder. Kidnapping Victim 1 is
presently serving a five year sentence.

w Greenwood Street wears the colors and/or NFL paraphernalia of the
Green Bay Packers.

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loosely aligned with the Norfolk Street Bulls and the Orchard
Park Trailblazers. Greenwood Street and the Point have been
engaged in a violent, shooting beef since approximately June 24,
2014 when, according to law enforcement sources, several CPD
members shot at a Norfolk Street Bulls' gang member who was
hanging out on CPD turf located at Carson Beach in South Boston
-- over a dispute related to the rap business -- and
accidentally shot a member of the Greenwood Street Posse.

40. Since June 2014, there has been a shooting war going
back and forth between the Point and Greenwood Street. These
shootings were referred to in conversation intercepted over the
wiretaps. On several occasions during the course of the
investigation, investigators conducted “wall-off” stops and/or
firearm seizures based on information obtained through wiretaps
that a CPD member was looking to shoot a Greenwood Street
member.

41. The end of July 2014 was a particularly active time in
the CPD/Greenwood Street beef, involving numerous non-fatal
shootings. On July 26, 2014, a member of CPD was shot in the
face. On July 28, 2014, a member of CPD was shot near his home
in Weymouth. On July 30, 2014, a member of CPD was shot in
South Boston, On July 31, 2014, two Greenwood Street gang

members, and a close associate, were all shot on Gleason Street

21

 

in Dorchester. On August 1, 2014, a Franklin Hill gang member
was shot in Dorchester.13

42. On August 17, 2014, according to law enforcement
sources and police reports, members of the Columbia Point Dawgs
engaged in a shootout with gang members from the Greenwood
Street Posse, Norfolk Street Bulls, and the Franklin Hills
Giants on Edinboro Street in Boston's Chinatown. At the scene,
investigators seized two guns and the wallet of YANCEY WILLIAMS
from a car associated with YANCEY WILLIAMS.14

43. On December 26, 2014, DEMETRIUS WILLIAMS was shot in
his white Mercedes Benz while leaving 6 Metcalf Court in
Dorchester to pick up a CPD member so that they could cook a
quantity of cocaine into crack, As he was leaving 6 Metcalf, as
captured by a wiretap, WILLIAMS said: “I’m gonna come get you,
umm we gonna ummm, go to Skeets’ and go to my crib start
handling that shit ” Moments after WILLIAMS hung up, a car
pulled up next to him and fired thirteen rounds into his car.

44. Shortly thereafter, as captured on a wiretap,
DEMETRIUS WILLIAMS COntaCted YANCEY WILLIAMS and Other CPD

members to tell his side of the story about the shooting, and to

 

m I know the names of the victims of all of these shootings and have
intentionally excluded them from this affidavit.

M I know the names of many of the other individuals involved in the
Chinatown shooting and have intentionally excluded them from this affidavit.

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advise them that he believes that someone “got the drop” on his
location and was waiting on him. YANCEY WILLIAMS indicated that
the shooters were driving around with two guns and agreed that
the shooting was a well-planned assassination attempt. Another
CPD member, who was conferenced in, agreed that people don't
ride around “two deep” with firearms unless they already have
the “drop” (i.e., location of target).

45. YANCEY WILLIAMS also noted, “that bitch nigga called
his sister who was having something and sent niggas over there,
nigga said he was on her snap.” DEMETRIUS WILLIAMS confirmed
that he knew the person to whom YANCEY WILLIAMS was referring.
YANCEY WILLIAMS also said “G” (presumably ARTHUR WILLIAMS, A/K/A
“G”) told him to “fall back” but that he would not “fall back”
(i.e., he was going to go after whoever shot at DEMETRIUS
WILLIAMS). In the ensuing dayS, DEMETRIUS WILLIAMS, DAVID JONES
and other members of CPD attempted to learn the identity of the
shooters, and DEMETRIUS WILLIAMS noted, as captured on a
wiretap, that it was “definitely them niggas” (i.e., members of
Greenwood Street).15

46. Shortly after this shooting, the wiretap on DEMETRIUS
WILLIAMS’ phone produced several calls indicating that DEMETRIUS

WILLIAMS was trying to get a gun, which was referred to in the

 

w Based on these calls, investigators notified several Greenwood Street
members and associates that they may be targeted for retaliation.

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calls as “hoodies” or “sweaters.” For example, DEMETRIUS
WILLIAMS called SHAROD HOPKINS and asked if HOPKINS had a
“sweater”. SHAROD HOPKINS stated that he was at work but that
DEMETRIUS WILLIAMS could go to SHAROD HOPKINS’ house and get
SHAROD HOPKINS' “Sweater.” DEMETRIUS WILLIAMS stated that he
could probably get one of his own, “Yeah, I'll get one, I'll get
one, I'll one not today, I'll get one of my shit or sumthin.”

47. On March 27, 2015, a Greenwood Street gang member was
shot at 2 p,m. in the afternoon while driving a BMW on Columbus
Avenue in Boston. An individual believed to be a CPD gang
member (whose identity I know) was chased in his car by law
enforcement after the shooting and threw a Glock .40 firearm out
the window.16 Investigators subsequently intercepted DAVID COKE
over a wiretap telling an unknown male the identity of the CPD
shooter and confirming that the CPD member was driving a Toyota
Tundra that day (which was accurate). DAVID COKE also told the
unknown male that the CPD member told DAVID COKE that he was
looking to flee Massachusetts until things calmed down. DAVID COKE
and the unknown male then joked about coaching gang members

about how to shoot each other.

 

16 The ATF has determined that the Glock was purchased in New Hampshire
by a CPD gang member, whose name I know.

24

 

48. On October 12, 2014, DAVID JONES and an unknown male
were intercepted on a wiretap discussing a gang fight at Saks
Fifth Avenue fight (captured on store surveillance cameras)
where Kidnapping Victim 1 (a member of CPD) led a group of CPD
members into the store to attack a Greenwood Street member.

49. On December 11, 2014, investigators intercepted a
conversation between DEMETRIUS WILLIAMS and an unknown male in
which the latter said that an associate would be in Boston that
afternoon looking to sell a Ruger pistol for around $600. Later
that day, as intercepted on a wiretap, a man (hereinafter the
“Gun Seller”) contacted DEMETRIUS WILLIAMS explaining that he
was the guy with the gun for sale, referring to it as a “Ruger
joint P95 shit, she, she pretty too,” and saying that he would
sell it to DEMETRIUS WILLIAMS for $675 at South Station in
Boston, The Gun Seller also indicated that he would shoot
Greenwood Street gang members if DEMETRIUS WILLIAMS wanted him
to. Investigators subsequently seized a Ruger P95, semi-
automatic pistol, loaded with 15 rounds of ammunition, from the

Gun Seller's backpack at South Station in Boston,

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V. THE ARRESTS AND SEIZURES

 

50. During the investigation, agents seized 14 firearms,
11 vehicles, approximately $100,000 in cash, and quantities of
cocaine, heroin, crack, and oxycodone pills, Most of the
Targets were arrested in the early morning hours of June 18,
2015, and the investigative team executed approximately 27
federal search warrants. Among other things, the following
items were seized in connection with the arrests and search
warrants (the execution of the search warrants remains ongoing
and these amounts are subject to change):

-- 17 guns (bringing the total number of guns seized in
the investigation to date to 31);

-- multiple boxes of ammunition;

-~ approximately a kilogram of heroin;

-- over 200 grams of cocaine and over 100 grams of crack;
-- approximately $1.5M in cash; and

-- 4 vehicles,

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VII . CONCLUSION

The Columbia Point Dawgs is a violent street gang with a
significant operating objective - the protection of drug
trafficking and other illegal activities by its members through
violence and intimidation. Each of the Targets in this case is
a member of the gang (and in many instances, a member of its
leadership) or a significant associate (for example, a drug or
firearm supplier to gang members). All of the Targets have
demonstrated that they are drug and/or firearm traffickers and
either dedicated members of the Columbia Point Dawgs who
contribute to its operation and violence, or significant
Criminal associates who share the basic objectives of the gang.
Each should therefore be detained pending trial.

Signed under the pain and penalties of perjury this 18w'day

of June 2015.

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MATTHEW c. KN:GHT
sPECIAL AGENT
FEDERAL BUREAU oF INvEsTIGATION

   

 

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